
193 P.3d 46 (2008)
222 Or. App. 320
In the Matter of C. D., Alleged to be a Mentally III Person.
STATE of Oregon, Respondent,
v.
C. D., Appellant.
06595MC; A133561.
Court of Appeals of Oregon.
Submitted August 1, 2008.
Decided September 10, 2008.
James A. Palmer, Eugene, filed the brief for appellant.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Jeff J. Payne, Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and ARMSTRONG, Judge, and ROSENBLUM, Judge.
PER CURIAM.
Appellant in this mental commitment case appeals an order committing him to the Mental Health Division for a period of time not to exceed 180 days. ORS 426.130. The trial court found that appellant suffers from a mental disorder, is a danger to others, and is unable to care for his basic personal needs. The state concedes that the record lacks clear and convincing evidence that defendant's mental disorder causes him to be a danger to others or unable to care for his basic personal needs. On de novo review, we find the state's concession to be well founded and accept it.
Reversed.
